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                        IN THE UNITED STATES DISTRICT COURT
                        DISTRICT OF UTAH – CENTRAL DIVISION

ISLET HOLDINGS, INC. et. al.,
                                                     ORDER DENYING WITHOUT
Plaintiffs,                                          PREJUDICE MOTION FOR PARTIAL
                                                     SUMMARY JUDGMENT (DKT. 102)
v.

ISLET SCIENCES, INC., et al.,
                                                     Case No. 2:12-CV-799-RJS

                                                     District Judge Robert J. Shelby
Defendants.


        Before the court is Plaintiffs’ Motion for Partial Summary Judgment. (Dkt. 102.) This

Motion was filed on November 21, 2014. At a hearing on February 24, 2015, the court granted

Plaintiffs leave to file a Second Amended Complaint. In light of that ruling, the court also

denied Plaintiffs’ Motion for Partial Summary Judgment without prejudice to refile after the

Second Amended Complaint is filed. This order reflects that ruling.

Dated this 2nd day of April, 2015.

                                             BY THE COURT:



                                             JUDGE ROBERT J. SHELBY
                                             United States District Court




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